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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


UNITED STATES OF AMERICA                           NO. 3:17-CR-103-M

v.                                                 EX PARTE AND UNDER SEAL

BRADLEY J. HARRIS (01)
AMY HARRIS (02)


                                            ORDER

         Before the Court is the Government’s Ex Parte Motion for Arrest and Revocation of Pre-

Trial Release, (ECF No. 303). The motion is GRANTED.

         The Clerk is directed to issue an Arrest Warrant for Bradley J. Harris (01), and Amy

Harris (02).

         The government’s motion and this order shall remain under seal pending further order of

this court.

         SO ORDERED.

         Signed February 9, 2018.



                                                    BARBARA M. LYNN
                                                    CHIEF JUDGE




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